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UNITED STATES DISTRICT CoURT `y"-- §§ D_
FOR THE WESTERN DISTRICT oF TENNESSEEO$JUL 2 C
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TENNESSEE VALLEY AUTHORiTY ) CL§§A ;}:g‘ fri hix0y@
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Plaimiff ) ' '“"“Uf"i$`€?¢,i'Uf?7
)
v. ) Civil Action No. 1-05-1063-T
)
MB vALUATIoN sERvICES, 1NC. )
)
Defendant )

RULE 16(B) SCHEDULING ORDER
Pursuant to the scheduling conference Set by Written notice, the following
dates are established as the final dates for:
INITIAL DISCLOSURES (RULE 26(a)(1)):
August 12, 2005.
JOINING PARTIES:

for Plaintiff: September 20, 2005
for Defendant: October 20, 2005

AMENDING PLEADINGS:

for Plaintiff: September 20, 2005
for Defendant: October 20, 2005

COMPLETING ALL DISC()VERY: March 5, 2006

(a) REQUESTS FOR PRODUCTION,
INTERROGATORIES and REQUESTS FOR
ADMISSIONS: March 5, 2006.

(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’s Experts: Decernber 20, 2005
(ii) Dei`endant’s Experts: January 20, 2006
(iii) Supplementation under Rule 26(€): 10 days after
Defendant’s disclosure Plaintift’s expert rebuttal,
if any, shall be timely issued pursuant to Rule '
26(a)(2)(C).

This document entered on the docket sheet in co fiance
with nine 53 and,'or 79 (a) FncP on f 2 [QO Z l 5 § ' \©

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(c) DEPOSITIONS OF EXPERTS: March 5 , 2006

FILING DISPOSITIVE MOTIONS: 3 months before trial
FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):
(a) for Plaintiff: 45 days before trial
(b) for Defendant: 30 days before trial

Parties shall have 10 days after service of final lists of witnesses and exhibits to
file objections under Rule 26(a)(3).

The trial of this matter is expected to last 5-8 days and is tentatively SET for
JURY TRIAL on June 5, 2006 at 9:30 A.M. Ajoint order is due on May 26, 2006. In
the event the parties are unable to agree on a joint pretrial order, the parties must notify
the court at least ten days before trial.

OTHER RELEVANT MATTERS:

lnterrogatories, Requests for Production, and Requests for Admissions must be
submitted to the opposing party in sufficient time for the opposing party to respond by
the deadline for completion of discovery. For example, if the FRCP allows 30 days for a
party to respond, then the discovery must be submitted at least 30 days prior to the
deadline for completion of discovery.

Motions to compel discovery are to be filed and service by the discovery deadline
or within 30 days of the default or service of the response, answer, or objection which is
the subject of the motion if the default occurs Within 30 days of the discovery deadline,
unless the time for filing of such motion is extended for good cause shown, or any
objection to the default, response, or answer shall be waived.

The parties are reminded that pursuant to Local Ruie 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither
party may file an additional reply, however, without leave of the court. lf a party
believes that a reply is necessary, it shall file a motion for leave to file a reply
accompanied by a memorandum setting forth the reasons for Which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate
Judge can normally provide the parties with a definite trial date that will not be continued
unless a continuance is agreed to by all parties with a definite trial date that will not be
continued unless a continuance is agreed to by all parties, or an emergency arises which
precludes the matter from proceeding to trial.

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The parties may consent to trial before the Magistrate Judge. The Magistrate
Judge can normally provide the parties with a definite trial date that will not be
continued unless a continuance is agreed to by all parties With a definite trial date that
Will not be continued unless a continuance is agreed to by all parties, or an emergency
arises which precludes the matter from proceeding to trial.

T he parties are encouraged to engage in court-annexed attorney mediation or
private mediation on or before the close of discoverv.

This order has been entered after consultation With trial counsel pursuant to
notice. Absent good cause shown, the scheduling dates set by this Order will not be
modified or extended.

The parties stipulate that since ten affirmative defenses have been raised,
additional interrogatories (beyond 25) will be necessary. The parties agree to work
together in an attempt to resolve any discovery disputes

Due to the parties’ agreement on the ter ms of this Scheduling Order, the

scheduling conference previously set for July 29, 2005 is hereby canceled

IT IS SO ()RDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: M ici 2003/
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We hereby approve and consent to the

entry of this order:

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MB Valuation Services, Inc.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 1:05-CV-01063 was distributed by fax, mail, or direct printing on
.1 uly 20, 2005 to the parties listed.

ESSEE

 

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Honorable .l ames Todd
US DISTRICT COURT

